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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION
________________________________________________________________

UNITED STATES OF AMERICA,          )
                                   )
     Plaintiff,                    )
                                   )
v.                                 )    No. 15-20288-SHM-tmp
                                   )
TESKA KEY,                         )
                                   )
     Defendant.                    )
                                   )
                                   )
________________________________________________________________

                    REPORT AND RECOMMENDATION
________________________________________________________________

       Before the court by order of reference is defendant Teska

Key’s Motion to Suppress, filed on April 15, 2016.                      (ECF No.

32.)    The government responded in opposition on May 31, 2016.

(ECF No. 37.)      Key filed a reply on June 2, 2016, to which the

government filed a sur-reply on June 9, 2016.                 (ECF Nos. 39 &

40.)    On June 13, 2016, the court held a suppression hearing.

(ECF No. 41.)        The court heard testimony from United States

Postal Service Inspector Kyle Parker and admitted into evidence

one exhibit.

       The court has now considered the memoranda of law filed in

support of and in opposition to the motion to suppress, the

testimony    of   Inspector   Parker,    the   exhibit     presented     at   the

suppression hearing, and the applicable law.                The court hereby
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submits the following proposed findings of fact and conclusions

of law, and recommends that the motion to suppress be denied.

                         I.    PROPOSED FINDINGS OF FACT

A.    Investigation and Search Warrant

      In July 2015, the United States Postal Inspection Service

initiated    an   investigation       involving     theft     of    over   $300,000

worth of property belonging to Brother International, an office

equipment manufacturer, by defendant Teska Key.                    As a result of

that investigation, on August 6, 2015, Tennessee Criminal Court

Judge Paula Skahan signed a search warrant for Key’s residence,

located     at    4909   Noel      Mission,    Memphis,       Tennessee.        The

investigation revealed that Key resided at this residence with

his wife, Jacqueline Key, who worked as the shipping manager at

the Brother International warehouse in Bartlett, Tennessee. 1                   The

affidavit    submitted        in   support    of   the    warrant    provided    as

follows:

      On July 21, 2015 US Postal Inspector K. Parker began
      an   investigation    at   the   request   of    Brother
      International (7777 Brother Blvd) in regards to a
      systematic theft occuring [sic] within the last two
      years.   Investigators discovered that a male known as
      Teska Key was posting large numbers of Brother
      products on Ebay and Amazon for sale. US Postal made
      a   total    of    5   on   line    [sic]   buys    from
      “Officesupplynetwork[”] on Ebay.     Once the packages
      were received it was discovered that the items were on

1
 In this Report and Recommendation, defendant Teska Key will be
referred to as “Key,” and his wife will be referred to as
“Jacqueline Key.”


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      Brothers Inventory as missing/stolen.       The paypal
      account where the buy money was sent to had the name
      of Teska Key on the reciept [sic]. Research revealed
      that Teska Key resides at 4909 Noel Mission, Memphis,
      Tn 38125 and is married to Jacqueline Marshall Key.
      It was also discovered that Jacqueline Key is the
      shipping   manager   at   the   Brother   International
      warehouse in Bartlett, TN.    Investigators had active
      surveillance on Teska Key once the buys were made. A
      total of 5 [undercover] buys have been made from Teska
      Key and the payments sent to Teska Key with the last
      buy being sent on July 24, 2015.        Teska Key was
      followed from 4909 Noel Mission where he travelled to
      Brother International and dropped Jacqueline Key off
      for work.    Teska Key was then followed to his home
      where he entered and came back out with a package.
      Teska Key was then followed to a storage unit located
      at 6390 Winchester building 5 unit 5104 where he
      entered and exited after a few minutes. Teska Key was
      then seen to travel to the post office where he mailed
      a package which was subsequently received by US Postal
      Inspectors and found to also be merchandise belonging
      to Brother International.   On August 5, 2015 Brother
      Intenational [sic] reported that an additional 10
      Brother programs were missing from the shipping and
      receiving area where Jacqueline Key is the manager.
      Brother International has tracked losses of over
      $300,000 they believe to be from this systematic
      theft. It is the belief of the affiant that Teska Key
      is storing and selling stolen merchandise belonging to
      Brother International at 4909 Noel Mission, shipping
      these items through the US Postal Service, and
      receiving payment through paypal in his name.

(ECF No. 37.)       The warrant authorized officers to search for

“[a]ssorted     ‘Brother’    computer      equipment,     programs,     toner,

shipping containers, shipping envelopes, passwords, computers,

electronic storage devices and digital media.”            (Id.)

      Officers executed the search warrant on August 7, 2015.

During the search of the residence, officers found a .45 caliber



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handgun.     The officers seized the handgun because they knew that

Key was a convicted felon.            Subsequently, on December 10, 2015,

a federal grand jury returned a one-count indictment charging

Key with possession of a firearm by a felon, in violation of 18

U.S.C. § 922(g)(1).       (ECF No. 1.)

B.     Motion to Suppress

       Key filed the present motion to suppress on April 15, 2016.

(ECF No. 32.)      Key argues that the affidavit in support of the

search warrant fails to establish probable cause, because the

information contained in the affidavit does not demonstrate a

sufficient nexus between the suspected criminal activity and the

place to be searched.        Key asserts that the only references to

his residence in the affidavit are the statements that he and

his wife live there and that he was seen on one occasion leaving

his home with an unidentified package.              He contends that “[a]s a

matter of fact, the affidavit appears to support an argument

that    evidence    of    the   crime      sought     (theft      from    Brother

International) would more likely be found at the storage unit

and not the home of the defendant.”                 Key additionally argues

that the affidavit is so lacking in probable cause that the

good-faith    exception    to   the    exclusionary       rule   established   in

United States v. Leon, 486 U.S. 987 (1984), should not apply.




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Key moves for the suppression of all items seized from his home,

including the handgun. 2

        The government filed a response in opposition on May 31,

2015.      (ECF No. 37.)           In its response, the government reveals

that the affidavit in support of the search warrant contains a

misstatement        of     fact.         The   government         explains       that        the

statement,     “Teska       Key    was    then       followed     to    a   storage      unit

located at 6390 Winchester building 5 unit 5104 where he entered

and exited after a few minutes,” is incorrect because Key was

not observed leaving his house with the package and proceeding

to   the    storage      unit     on   July    24.        Rather,      according    to       the

government, Key was observed on July 24 leaving his house with a

package and then observed mailing a package at the post office.

Although      Key    was    in     fact    seen      at    the    storage    unit       by    a

surveillance team, that observation was made two days earlier,

on   July     22.        The     government,       however,       contends      that     this

misstatement was not included knowingly or intentionally, and

that if the court were to excise the misstatement, the affidavit

would      still    contain       sufficient      facts      to     establish      probable

2
 Key also seeks to suppress a silver key recovered by officers
from a 2011 Dodge Challenger parked on the property, as well as
any statements made by him during or after the search of his
home. However, the government has represented that it will not
introduce the silver key or any statements made by Key during
its case-in-chief.   Therefore, Key’s motion, to the extent it
seeks suppression of the silver key and any statements, is moot.



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cause. 3        The government argues that the affidavit establishes a

sufficient        nexus     between      Key’s    residence          and    the   suspected

criminal activity.

        Key filed a reply on June 2, 2016.                       (ECF No. 39.)            Key

requests that the court conduct a hearing pursuant to Franks v.

Delaware, 438 U.S. 154 (1978), “to determine the truthfulness of

all remaining sworn statements of fact in the search warrant

affidavit.”         The government filed a sur-reply on June 9, 2016.

(ECF No. 40.)           The government argues that Key has failed to make

the requisite showing to obtain a Franks hearing, because he has

not     alleged         that     false       information       was        deliberately     or

recklessly        included       in    the    affidavit     or       provided     proof   to

support such an allegation.

C.      Suppression Hearing

        The     court    held    a    suppression     hearing        on    June   13,   2016.

United States Postal Service Inspector Kyle Parker was the only

witness to testify at the hearing.                      The court finds Inspector

Parker’s testimony to be credible.                     Inspector Parker testified

that he, his supervisor (Inspector Dwight Jones), and a company

hired      by     Brother       International        (Brewer     Detective        Service),

3
 The government also revealed that the address of the storage
unit listed in the affidavit (6390 Winchester, building 5, unit
5104) was incorrect.      The correct address is 3686 South
Germantown Road, building 5, unit 5104.   However, Key does not
allege that the inaccurate storage unit address provides a basis
to suppress the search.


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conducted surveillance of Key, his wife, their residence, and

Key’s storage unit during the investigation.                     The individuals

involved in the surveillance operation took handwritten notes

documenting their observations.            These notes were admitted into

evidence at the hearing as Exhibit 1.

      Inspector Parker testified that he and other team members

conducted surveillance of Key throughout the morning and early

afternoon on July 24.        At some point, surveillance team members

advised    Inspector      Parker    that     Key   was     returning          to    his

neighborhood.          Inspector    Parker     then      proceeded       to        Key’s

neighborhood and parked near his residence.                While stationed in

his   vehicle,    he     observed   Key’s     garage      door    open.            This

observation prompted him to drive by Key’s house, at which point

he saw Key coming out of his house with a package.                  He testified

that he did not log this observation because he was driving at

the time. 4    Inspector Parker testified that he then went to the

post office and observed Key mail what appeared to be the same

package that Inspector Parker saw Key in possession of at his

house moments earlier.         The package was later intercepted and

the contents were determined to be items stolen from Brother

International.     Inspector Parker testified that he relayed these

4
 At 2:35 p.m. on July 24, Detective Parker wrote in his
surveillance notes “Infiniti leaves res.”   (Exhibit 1.)   He
testified that this note reflects when he saw Key leaving his
home with the package.


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events to the officer who later prepared the affidavit for the

search warrant.

       Inspector Parker also testified regarding the inaccuracies

in the search warrant affidavit.                  He testified that Key was not

seen   at   the    storage       unit    after    leaving      his     house      with   the

package     on    July     24,    contrary        to   the     information         in    the

affidavit.        Inspector Parker explained that Key was actually

observed at the storage unit on July 22.                     He also testified that

the address for the storage unit on the affidavit was incorrect.

                     II.       PROPOSED CONCLUSIONS OF LAW

A.     Probable Cause

       Key argues that the affidavit supporting the search warrant

fails to establish probable cause because the affidavit does not

demonstrate a sufficient nexus between the suspected criminal

activity and his residence.               Although the parties agree that the

statement    regarding         Key’s     presence      at    the     storage      unit   was

inaccurate, Key argues that the court must nevertheless review

the entire affidavit as submitted to Judge Skahan in deciding

whether it contains sufficient probable cause.                               Key believes

that the inclusion of this statement supports his challenge to

the    sufficiency       of    the      affidavit,      in    that      it    raises     the

possibility that the package sent by Key on July 24 was obtained

from the storage unit, rather than from his residence.



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       The   court       finds    that     the    affidavit         contains      sufficient

probable        cause     to     support     the       search       of     the    residence,

regardless of whether the misstatement is or is not considered.

“[T]o    establish       probable       cause     to   support       a    search    warrant,

there must be some nexus between the suspected illegal activity

and the property to be searched.”                   United States v. Kinison, 710

F.3d     678,     683    (6th     Cir.     2013)       (citing       United       States     v.

McPhearson, 469 F.3d 518, 524 (6th Cir. 2006)).                             In determining

whether      probable        cause    exists,       the      task    of     the    reviewing

judicial officer is “to make a practical, common-sense decision

whether, given all the circumstances set forth in the affidavit,

. . . there is a fair probability that contraband or evidence of

a crime will be found in a particular place.”                                    Illinois v.

Gates,    462     U.S.    213,    238    (1983);       see    also       United    States    v.

Franklin, 622 F. App'x 501, 508 (6th Cir. 2015).                             “The standard

of review for the sufficiency of an affidavit ‘is whether the

magistrate       had     a     substantial        basis      for     finding       that     the

affidavit       established          probable      cause      to     believe       that     the

evidence would be found at the place cited.’”                             United States v.

Greene, 250 F.3d 471, 478 (6th Cir. 2001) (quoting United States

v. Davidson, 936 F.2d 856, 859 (6th Cir. 1991)); see also United

States v. Ugochukwu, 538 F. App’x 674, 678 (6th Cir. 2013).

Search warrant affidavits must be judged based on the totality



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 of the circumstances, rather than line-by-line scrutiny.                                   United

 States v. Baechtle, No. 2:13–cr–20054–SHM, 2015 WL 893348, at *7

 (W.D. Tenn. Mar. 2, 2015) (citing United States v. Johnson, 351

 F.3d 254, 258 (6th Cir. 2003)).                       Review of the sufficiency of

 the    evidence      supporting       probable          cause     is        limited       to   the

 information     presented       in    the     four      corners        of    the     affidavit.

 United States v. Brooks, 594 F.3d 488, 492 (6th Cir. 2010).

        As detailed above, the affidavit states that investigators

 began an investigation in July 2015 of a theft scheme involving

 Brother International products that occurred over the span of

 two    years   and     resulted       in     the       loss      of     over       $300,000     in

 merchandise.      During this investigation, investigators learned

 that Key was advertising numerous Brother International products

 for sale on the internet.                 Investigators made five purchases of

 such   products      from     Key    on    eBay       and   noticed         that    the    PayPal

 account where the money was sent listed Key as the recipient.

 Once    the    packages        were        received         by    investigators,               they

 discovered     that     the    contents        had      been      stolen          from    Brother

 International.        Investigators learned that Key was married to

 Jacqueline     Key,    who    was     the    shipping         manager        at    the    Brother

 International warehouse in Bartlett, Tennessee.                              On July 24, Key

 was observed leaving his home with a package and arriving at a

 post   office,    where       he     mailed       a    package.          The       package     was



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 subsequently     intercepted         and   found     to     also     contain       stolen

 Brother International merchandise.                 Less than two weeks later,

 on August 5, investigators learned that ten additional Brother

 International        products    were      missing        from      the   area      where

 Jacqueline Key worked as the shipping manager.                       Whether Key was

 observed stopping at the storage unit on July 24 before mailing

 the package does not detract from the likelihood that evidence

 of the theft scheme would be found at Key’s residence.                                  If

 anything, that statement would arguably support a search of the

 storage unit in addition to a search of the residence.                         Based on

 the   totality   of     the   circumstances,       the      court    finds    that     the

 information contained in the affidavit establishes a sufficient

 nexus between the criminal activity and Key’s residence.

       The court notes that at the suppression hearing, Key argued

 that Inspector Parker seeing Key leaving his residence with a

 package on July 24 is critical to the court’s determination of

 whether   the    affidavit      contains      probable       cause.          The    court

 disagrees.      Hypothetically speaking, even if the court were to

 disregard this event, the court would nevertheless find that the

 affidavit contains sufficient probable cause.                        “[O]bservations

 of illegal activity occurring away from the suspect's residence,

 can   support    a    finding   of    probable      cause     to     issue    a    search

 warrant for the residence, if there is a reasonable basis to



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 infer from the nature of the illegal activity observed, that

 relevant     evidence   will    be   found    in    the   residence.”         United

 States v. Thomas, 989 F.2d 1252, 1255 (D.C. Cir. 1993); see also

 United States v. Khami, 362 F. App'x 501, 504 (6th Cir. 2010)

 (“The affidavit need not show sufficient allegations to support

 a finding that criminal activity is actually occurring at that

 location, but must include allegations sufficient to show a link

 between probable criminal activity and that specific location.”)

 (citing United States v. Jones, 159 F.3d 969, 974-75 (6th Cir.

 1998)); United States v. Murrey, No. 09-20473, 2010 WL 4683894,

 at *4 (E.D. Mich. Nov. 10, 2010) (“However, a finding of a nexus

 does   not   require    the    affidavit     to    allege    that    the    criminal

 activity took place at the location to be searched.”).                           Here,

 the affidavit sets forth facts establishing that Key sold stolen

 Brother International products over eBay on multiple occasions,

 his wife worked as a shipping manager at the warehouse where

 these products went missing, both of them lived at the same

 residence, he was seen mailing a package at the post office

 containing stolen product, and the theft scheme resulted in a

 substantial loss of over $300,000 in merchandise.                    The court can

 reasonably     conclude    from   these    facts     that    there    was    a    fair

 probability that Key was storing stolen property at his house to




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 be sold on eBay.          Therefore, the court recommends that Key’s

 motion challenging the sufficiency of the affidavit be denied. 5

 B.    Franks Hearing

       In Franks, the Supreme Court held that a search based on a

 warrant     that      contains     deliberately         or      recklessly         false

 allegations    is    invalid     unless    the    remaining         portions    of    the

 affidavit    provide     probable     cause.       “A    Franks       hearing    is    an

 evidentiary    hearing      during    which       defendants        are    allowed    to

 present    evidence      concerning     the      veracity      of    the    challenged

 statements in the search warrant affidavit.”                        United States v.

 Kelley, 596 F. Supp. 2d 1132, 1149 (E.D. Tenn. 2009) (citing

 United    States    v.   Keszthelyi,      308    F.3d   557,     566–68     (6th     Cir.

 2002)); see also United States v. Brooks, No. 11-cr-20137Ml/P,

 2011 WL 7081072, at *3 (W.D. Tenn. Dec. 8, 2011) (“The purpose

 of a Franks hearing is to allow the defendant to challenge the

 truthfulness of statements in an affidavit in order to challenge

 the legality of a search warrant issued on the basis of the

 affidavit.”)       (internal   quotation        marks   and    citation       omitted).

 As the Sixth Circuit has explained:

       To obtain a Franks hearing, the movant must provide a
       substantial preliminary showing that a false statement
       was made either knowingly or intentionally, or with

 5
  The government argues that even if the affidavit lacks probable
 cause, the Leon good-faith exception should apply. Based on the
 finding that the affidavit contains probable cause, the court
 need not address the Leon good-faith exception.


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        reckless disregard for the truth.      The movant must
        also show that the allegedly false statements were
        necessary   for  the   magistrate's  determination  of
        probable cause. Therefore, ‘if, when material that is
        the subject of the alleged falsity or reckless
        disregard is set to one side, there remains sufficient
        content in the warrant affidavit to support a finding
        of probable cause, no hearing is required.’

 United States v. Mastromatteo, 538 F.3d 535, 545 (6th Cir. 2008)

 (quoting Franks, 438 U.S. at 171-72) (emphasis in original).

        At the suppression hearing, Key alleged that the statement

 in the affidavit relating to Key being seen leaving his house

 with     a    package      is     inconsistent         with     the     investigators’

 surveillance        notes,      and   requested    a    Franks     hearing       on   this

 basis.       The court finds that Key has not made a substantial

 preliminary showing that this statement was false, much less

 that it was made knowingly or intentionally, or with reckless

 disregard     for    the     truth.      Key   has     produced        no   evidence   to

 support his assertion that the statement was false.                         Although he

 cites the omission of any reference to Inspector Parker seeing

 Key with a package in the surveillance notes, these notes do not

 contradict the affidavit.               Moreover, the court finds credible

 Inspector Parker’s testimony, in which he testified that he saw

 Key leave his residence with a package.                       As a final matter, it

 does not appear to the court that Key has requested a Franks

 hearing      based   on    the    inaccurate      statement       in    the     affidavit

 regarding Key’s visit to the storage unit.                            However, to the


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 extent that Key requests a Franks hearing on this basis, the

 court    finds       that    he     has   not    made     the     necessary     preliminary

 showing.             Although       the   government           acknowledges        that     the

 statement regarding Key stopping at his storage unit on July 24

 is     incorrect,       as     discussed         above,    the      affidavit       contains

 probable       cause    even      without       consideration        of   the    statement.

 Therefore, it is recommended that Key’s request for a Franks

 hearing be denied.             See United States v. Bucio-Cabrales, 635 F.

 App'x 324, 330 (6th Cir. 2016) (“Where the defendant does no

 more    than    allege       that    an   affiant       made    false     statements,      the

 defendant is not entitled to a [Franks] hearing.”).

                                   III.    RECOMMENDATION

        For     the    above     reasons,        the   court     recommends      that      Key’s

 motion to suppress be denied.

        Respectfully submitted,

                                             s/ Tu M. Pham
                                             TU M. PHAM
                                             United States Magistrate Judge

                                             June 22, 2016                        _____
                                             Date




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                                   NOTICE

 ANY OBJECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
 FOURTEEN (14) DAYS AFTER BEING SERVED WITH A COPY OF THE REPORT.
 28 U.S.C. § 636(b)(1)(C). FAILURE TO FILE THEM WITHIN FOURTEEN
 (14) DAYS MAY CONSTITUTE A WAIVER OF OBJECTIONS, EXCEPTIONS, AND
 ANY FURTHER APPEAL.




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